Case 2:03-cV-02330-SHI\/|-ch Document 409 Filed 07/06/05 Page 10f5 Pag D713

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LECTRoLARM cusToM ) US MU§M
sYs'rEMs, INC., ) w wet M»FHS
Plaimirr, i
v. § No. 03-2330 Ma/An
vlcoN INDUSTRIES, INC., et al., §
Defendants. §

 

ORDER GRANTING MOTION FOR LEAVE TO FILE REPLY

 

Before the Court is Sensormatic’s Motion for Leave to File a Surreply to Lectrolarm’s
Consolidated Reply filed on June 24, 2005. For good cause shown, the motion is GRANTED.
Sensormatic shall file its Surreply With the Court within 10 days of entry of this Order.

IT IS SO ORDERED.

’7’ .)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: 2003/

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with Flu|e 58 and/or 79(3) FF{CP on ' '

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Honorable Samuel Mays
US DISTRICT COURT

